                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

_____________________________________
IN RE:                       .        :
                                      :           CHAPTER 11
MBMK PROPERTY HOLDINGS, LLC, :
                                      :           Bankruptcy No. 2:22-bk-13121 (MDC)
                     Debtor           :
____________________________________:
                                      :
MBMK PROPERTY HOLDINGS, LLC, :                    Adversary Proceeding No. 23-00062 (MDC)
                     Plaintiff,       :
                                      :
               v.                     :
                                      :
WILMINGTON TRUST, NATIONAL            :
ASSOCIATION, As Trustee, For          :
The Benefit of The Holders Of         :
Corevest American Finance             :
2018-2 Trust Mortgage                 :
Pass-Through Certificates;            :
                                      :
BAY MANAGEMENT GROUP OF               :
PHILADELPHIA, LLC;                    :
                                      :
JAMES PAUL, d/b/a James Paul          :
the ALPS Group;                       :
                                      :
               and                    :
                                      :
ALPS GROUP, INC. d/b/a James Paul     :
the ALPS Group,                       :
                                      :
                     Defendants.      :
                                      :
                                      :

     MOTION TO DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION
                   PURSUANT TO FED.R.CIV.P. 12(b)(1)

       Defendant, James Paul ( “Mr. Paul”), the Court-appointed Receiver of Debtor MBMK

Property Holdings, LLC ("MBMK" or the “Debtor”), should be dismissed from this matter

because MBMK failed to obtain the permission of the courts who appointed him (see e.g.,
                                              1


4871-0224-2699
Barton v. Barbour, 104 U.S. 126, 26 L. Ed. 672 (1881); In Re: VistaCare Group, LLC, 678 F.3d

218 (3d Cir. 2012), and in accordance with Warner v. Conn, 32 A.2d 740, 741-2 (Pa. 1943)).

Mr. Paul, therefore, brings this Motion to Dismiss based on this Court’s lack of subject matter

jurisdiction and, in furtherance thereof, Mr. Paul avers as follows:

                                               INTRODUCTION

         This Court lacks subject matter jurisdiction to hear any of the claims brought by MBMK

against the court appointed receiver, Mr. Paul. It is well established that MBMK was required to

obtain leave of the courts, which appointed Mr. Paul as a prerequisite to the filing of any lawsuit

against him. As a receiver, Mr. Paul performed his duties as an extension of the courts that

appointed him, and the appointing courts’ orders naming Mr. Paul as receiver specifically

retained jurisdiction to hear the very claims that MBMK improperly seeks to assert before this

Court. MBMK’s failure to seek leave to bring its claims against Mr. Paul before asserting them

in this Court is a fatal flaw requiring their dismissal.

                    RELEVANT FACTUAL AND PROCEDURAL HISTORY1

         1.       As alleged in the instant Adversary Complaint (the “Complaint”), MBMK is a

Delaware limited liability company which owned and operated thirteen rental properties in

Delaware County (11) and Philadelphia County (2), Pennsylvania since their acquisition in and

around September 2018. See ¶¶ 1-4 of Complaint.

         2.       MBMK is a Chapter 11 debtor-in-possession in the subject bankruptcy proceeding

related to the matter sub judice. See id. at ¶¶3 & 89.



1
  While Mr. Paul disputes the characterization and content of the facts alleged in the Complaint, for purposes of the
instant motion, the facts as alleged in the Complaint are viewed in the light most favorable to MBMK. Mr. Paul
reserves all rights to supplement and add to the following factual recitation, to raise additional arguments that
MBMK’s claims should be dismissed because they fail to state claims upon which relief may be granted, and/or to
deny factual allegations of MBMK in the event that this Motion is denied or denied in part.
                                                          2


4871-0224-2699
        3.       Mohsin Khawaja (“Khawaja”) and Matthew Breen (“Breen”) formed MBMK in

and around August 2018 to acquire, own, and operate the thirteen rental properties in issue in this

matter. See id. at ¶¶23-27.

        4.       Khawaja and Breen were the sole members of MBMK. See id. at ¶¶23-27.

        5.       Co-Defendant Wilmington Trust, National Association (“Wilmington”), provided

financing through various instruments for the thirteen rental properties for an amount in excess

of $2 million dollars. See id. at ¶¶6-11, 28-39.

        6.       Co-Defendant Bay Management Group of Philadelphia, LLC (“BMG”) served as

a property manager for the thirteen rental properties during portions of the relevant time period.

See id. at ¶¶12-14.

        7.       Mr. Paul served as a court appointed receiver, tasked with taking over the

management of the thirteen rental properties from BMG.2 See id. at ¶¶15-19.

        8.       Between 2018 and 2019, Khawaja went on a gambling spree at various casinos

throughout the United States, incurring millions of dollars in gambling debts. See generally,

Adversary Complaints, Docket No. 1, case docket nos. 19-00233-mdc, 19-00234-mdc, 19-

00236-mdc, 20-00101-mdc & 20-00102-mdc.

        9.       On or about August 30, 2019, Khawaja filed a voluntary petition for relief under

Chapter 7 of the Bankruptcy Code in the Eastern District of Pennsylvania (docket 19-15430-

mdc). See ¶¶40-48 of Complaint.




2
 MBMK alleges that ALPS Group, Inc. was also appointed receiver. While Mr. Paul’s position is that he was
appointed as receiver in his individually capacity only, Mr. Paul understands that ALPS Group, Inc. is represented
by counsel and will be responding to the Adversary Complaint separately.
                                                         3


4871-0224-2699
       10.     The Khawaja indebtedness and subsequent bankruptcy triggered an event of

default with Wilmington on the financing of the thirteen rental properties owned and operated by

MBMK. See id. at ¶42.

       11.     On or about December 8, 2020, Wilmington initiated its foreclosure action

(December Term 2020, Docket No. 00225) on the two Philadelphia County MBMK rental

properties in Philadelphia County, Pennsylvania, and filed an Emergency Motion to Appoint

Receiver filed on or about January 8, 2021. See Exhibit M of Complaint.

       12.     On or about December 9, 2020, Wilmington initiated its foreclosure action

(Docket CV-2020-008284) on the eleven Delaware County MBMK rental properties in

Delaware County, Pennsylvania, and filed an Emergency Motion to Appoint Receiver filed

January 13, 2021. See Exhibit N of Complaint.

       13.     On March 10, 2022, Judge Anne Marie B. Coyle of the Philadelphia County

Court of Common Pleas entered an order on consent appointing Mr. Paul receiver to manage the

two Philadelphia County rental properties. See Exhibit M of Complaint.

       14.     On March 18, 2022, Judge Barry C. Dozor of the Delaware County Court of

Common Pleas entered an order on consent appointing Mr. Paul receiver to manage the eleven

Delaware County rental properties. See Exhibit N of Complaint.

       15.     The Orders appointing Mr. Paul specifically retain jurisdiction to hear any dispute

regarding Mr. Paul’s services as receiver. In particular, the Orders both state: “[the] Court

retains jurisdiction over this matter as necessary to enforce or modify the powers of the Receiver

and/or to compel a performance of and compliance with this Order. The Receiver... [is/are]

authorized, upon application to this Court, to seek further enforcement and relief as necessary.”

See Exhibits M (¶24) & N (¶29) of Complaint.

                                                 4


4871-0224-2699
       16.     On or about September 18, 2023, during the pendency of the underlying Chapter

11 Bankruptcy, MBMK filed the subject adversary complaint against Mr. Paul and others,

asserting as to Mr. Paul's claims for an accounting (Count I), breach of fiduciary duty and waste

(Count III) and violation of the Bankruptcy Code (Count IV). See Complaint.

       17.     The thirteen rental properties listed in Exhibit “A” of the instant adversary

complaint around which MBMK’s allegations center as Mr. Paul are the same thirteen rental

properties listed in Judges Dozor and Coyle’s orders appointing Mr. Paul as receiver and for

which Mr. Paul was tasked to manage in the Wilmington foreclosure actions. Compare

Complaint, Exhibits A, M & N thereto.

                                      LEGAL ARGUMENT

       18.     Lack of subject matter jurisdiction may be raised at any time by any party or by

the Court, sua sponte. See, e.g., Grupo Dataflux v. Atlas Global Group, L.P., 541 U.S. 567, 124

S.Ct. 1920, 1924, 158 L.Ed.2d 866 (2004) (It has long been the case that "the jurisdiction of the

court depends upon the state of things at the time of the action brought." Id., quoting, Mollan v.

Torrance, 9 Wheat. 537, 539, 6 L.Ed. 154 (1824)).

       19.     “A court may inquire into the jurisdictional facts without viewing the evidence in a

light favorable to either party.” Nesbit v. Gears Unlimited, Inc., 347 F.3d 72, 76-77 (3d Cir. 2003),

cert. denied, 541 U.S. 959, 124 S.Ct. 1714, 158 L.Ed.2d 400 (2004), citing, Mortensen v. First Fed.

Sav. & Loan Ass'n, 549 F.2d 884, 891 (3d Cir. 1977).

A.     The Barton Doctrine

       20.     The Barton doctrine provides that before suit is brought against a receiver, leave

of the court by which he was appointed must be obtained. Barton v. Barbour, 104 U.S. 126, 128,

26 L. Ed. 672 (1881); see also, Davis v. Gray, 83 U.S. 203, 218, 21 L. Ed. 447 (1872)(holding

                                                  5


4871-0224-2699
that the court appointing a receiver “will not allow him to be sued touching the property in his

charge, nor for any malfeasance as to the parties, or others, without [the court's] consent”); Seitz

v. Freeman (In re CitX Corp.), 302 B.R. 144, 148-49 (Bankr.E.D.Pa. 2003) (as a matter of

federal common law, before suit is brought against a receiver, leave of the court by which the

receiver was appointed must be obtained and without such leave, no other forum has jurisdiction

to entertain the suit); Kaliner v. Antonopolos (In re DMW Marine, LLC), 509 B.R. 497, 499

(Bankr.E.D.Pa. 2014) (the Barton doctrine generally provides that a party seeking to sue a court-

appointed receiver must first obtain leave of the appointing court, and absent such leave of the

appointing court, no other court has jurisdiction to hear a suit against the receiver).

       21.     The Barton doctrine has been imposed in “an unbroken line of cases . . . as a

matter of federal common law.” In re Linton, 136 F.3d 544, 545 (7th Cir. 1998).

       22.     Although the Barton doctrine is a common law doctrine, it has not been abrogated

by the Bankruptcy Code. DMW Marine, 509 B.R. at 503, citing VistaCare Group, 678, F.3d at

224.

       23.     In bankruptcy cases, the Barton doctrine applies not only to actions a third party

brings against bankruptcy trustees, but also against actions that a bankruptcy trustee or debtor-in-

possession brings against federal and state court appointed receivers. Id., citing VistaCare

Group, 678, F.3d at 227-28; CitX, 302 B.R. at 156 (“[T]o the extent the trustee’s claims in this

proceeding seek recovery from receivership property or seek to obtain some control over that

property, then federal common law would restrict such relief”).

       24.     The Barton doctrine implicates the very subject matter jurisdiction of the non-

appointing court such that, absent prior permission from the court that appointed the receiver, the

non-appointing court lacks jurisdiction over any action commenced against a receiver in that

                                                  6


4871-0224-2699
court. Id., e.g., citing In re Kashani, 190 B.R. 875,884 (B.A.P. 9th Cir. 1995) citing Richardson

v. Monaco (In re Summit Metals, Inc.), 477 B.R. 484, 494-95 (Bankr.D.Del. 2012); In re Triple S

Restaurants, Inc., 342 B.R. 508, 511-12 (Bankr.W.D.Ky. 2006).

        25.     The result of failure to comply with the mandates of the Barton doctrine were

stated best by the Barton Court itself; if permission is not obtained, the district or state court lacks

jurisdiction over the matter. Barton, 104 U.S. at 136-37.

        26.     Numerous bankruptcy courts have dismissed claims against a receiver where the

claimant failed to first seek leave from the court that appointed the receiver. DMW Marine, 509

B.R. at 499 (the Barton doctrine generally provides that a party seeking to sue a court-appointed

receiver must first obtain leave of the appointing court and absent such leave of the appointing

court, no other court has jurisdiction to hear a suit against the receiver); CitX Corp., 302 B.R. at

148-49 (Bankr.E.D.Pa. 2003) (as a matter of federal common law, before suit is brought against

a receiver, leave of the court by which the receiver was appointed must be obtained and without

such leave, no other forum has jurisdiction to entertain the suit); Summit Metals, 477 B.R. at

494-95 (plaintiff failed to seek leave of court to file his complaint and it was subsequently

dismissed pursuant to the Barton doctrine).

        27.     Further, Courts have held that the failure to first seek leave of the appointing court

cannot be rectified after the suit has been filed because the case is void ab initio. See, e.g.,

Summit Metals, 477 B.R. at 497; In re Kids Creek Partners, L.P., 248 B.R. 554, 558-59 (Bankr.

N.D. Ill. 2000), aff'd, 2000 U.S. Dist. LEXIS 17718, 2000 WL 1761020 (N.D. Ill. Nov. 30, 2000)

(the appointing court dismissed the case under the Barton doctrine when plaintiffs requested leave

to sue the Trustee only after filing suit in non-appointing court); Heavrin v. Schilling (In re Triple S

Rests., Inc.), 342 B.R. 508, 512 (Bankr. W.D. Ky. 2006), aff'd, 519 F.3d 575 (6th Cir. 2008) (the

                                                   7


4871-0224-2699
appointing court dismissed the case under the Barton doctrine because the plaintiff did not seek or

obtain leave of that court before filing suit against the Trustee in state court), In re Coastal Plains,

Inc., 326 B.R. 102 (Bankr. N.D. Tex. 2005) (same).

        28.     Accordingly, if there is a subject matter jurisdictional bar against suing a receiver

without first obtaining leave of the appointing Court under the Barton doctrine, that issue may be

raised at any time and cannot be waived. Moreover, a jurisdictional defect that is present at the

time a Complaint is filed cannot later be cured by, for example, setting forth the required

information in another document or pleading, which information had to have been set forth in the

Complaint. Mollan, 9 Wheat. 537 at 539 (stating it has long been the case that "the jurisdiction

of the court depends upon the state of things at the time of the action brought.").

        29.     Here, MBMK’s complaint must be dismissed as to Mr. Paul because MBMK

failed even to seek, much less obtain, approval from the two separate courts that appointed Mr.

Paul as receiver over MBMK’s properties, as required under the Barton doctrine.

        30.     Further, the orders appointing Mr. Paul as receiver specifically retain jurisdiction

regarding the receiver’s management of the properties in issue. As a result, the claims against Mr.

Paul must be dismissed for lack of subject matter jurisdiction.

B.      Neither of the Exceptions to the Barton Doctrine are Applicable in this Case

        1.      The “Business” Exception under 28 U.S.C. § 959(a)

        31.     There are two (2) exceptions to the Barton doctrine, neither of which applies to

this case. The first, 28 U.S.C. § 959(a), provides that trustees (or other court-appointed officers)

may be sued without permission of the appointing court if the act in question occurred while

"carrying on business" connected with the estate. Id. at 496; see also DMW Marine, 509 B.R. at

499.

                                                    8


4871-0224-2699
       32.     This narrow exception, sometimes referred to as the “business” exception, was

codified in order to allow for claims against a receiver without first obtaining permission from the

appointing court only in connection with conducting the business in the ordinary sense of the

word, “for example, personal injury suits brought for accidents occurring while the businesses is

operated under the control and management of the trustee during the bankruptcy case.” Id. at 496;

See Carter v. Rogers, 220 F.3d 1249 (11th Cir. 2000), 220 F.3d at 1254; Lebovits v. Scheffel (In re

Lehal Realty Assocs.), 101 F.3d 272, 276 (2d Cir. 1996) (holding that when the trustee only

administered the estate and did not conduct business, the bankruptcy court's permission is

required before suit against the trustee is filed in state court). Other courts have interpreted the

§959(a) exception similarly. See, e.g., Crown Vantage 421 F.3d 963 (9th Cir. 2005), 421 F.3d at

972 (holding that the section 959(a) exception only applies to "acts or transactions in conducting

the debtor’s business in the ordinary sense of the words or in pursuing that business as an

operating enterprise").

       33.     The application of the business exception to the Barton Doctrine was aptly

described by Judge Frank in DMW Marine, an analogous case in which a complaint filed by a

Chapter 7 trustee against a receiver appointed to operate a marine crane manufacturing company

was dismissed under the Barton doctrine because the Chapter 7 trustee failed to first seek

approval from the District Court that appointed the receiver.

       34.     The Chapter 7 trustee’s argument that the Barton doctrine did not apply because of

the business exception codified in 28 U.S.C. § 959(a) was summarily rejected by the DMW

Marine Court because:

               The Trustee’s claims for negligence and breach of fiduciary duty do
               not stem from the conduct of the Debtor’s business in the statutory
               sense of 28 U.S.C. § 959(a), even though the Receiver was
               authorized to carry on the Debtor’s business during the receivership.
                                                  9


4871-0224-2699
               Rather, the Trustee’s claims are based on the alleged misconduct in
               the Receiver’s administration of the Debtor’s estate causing injury to
               the Debtor; not actions alleging injury to third parties that interacted
               with the Debtor as the Receiver conducted its ordinary business
               operations. Therefore, the negligence and breach of fiduciary duty
               claims fall outside of the §959(a) Exception. See Fleeger v. Clarkson
               Co. Ltd., 86 F.R.D. 388, 394-95 (N.D. Tex 1980); see also
               Muratore,[v. Darr], 375 F.3d [140] at 147 [(1st Cir 2004)] (§959(a)
               is not intended to created a “generalized tort exception” to the Barton
               Doctrine).

Id. at 505.

         35.   Similarly, the DMW Marine Court held that the Trustee’s Bankruptcy Code based

claims fall outside the business exception to the Barton Doctrine because they are also grounded

in injury to the bankruptcy estate and not to third parties arising from the Receiver’s operation of

the business. Id.

         36.   Here, Mr. Paul was acting solely in his capacity as Receiver as appointed by the

Orders of Judge Dozor and Coyle. MBMK’s claims are based solely on the alleged misconduct in

ALPS’s administration of the real property, which made up the Debtor’s estate prior to its court-

authorized sale, causing injury to the Debtor, not actions alleging injury to third parties that

interacted with the Debtor as the Receiver conducted its ordinary business operations.

         37.   MBMK’s Bankruptcy Code based claims also allege only harm to MBMK’s

bankruptcy estate, and in no way implicate any tort claim that could have caused harm to a third

party.

         38.   For the foregoing reasons, all claims alleged against Mr. Paul fall outside the

business exception to the Barton doctrine encompassed in 28 U.S.C. § 959(a).

         2.    The “Ultra Vires” Exception

         39.   The second exception, commonly referred to as the “ultra vires” exception,

provides that the Barton doctrine only protects the trustee for acts "done in the trustee's official
                                                  10


4871-0224-2699
capacity and within the trustee's authority as an officer of the court." Summit Metals, 477 B.R. at

494-95, citing Allard v. Weitzman (In re: Delorean Motor Co.), 991 F.2d 1236, 1240 (6th Cir.

1993).

         40.   Put another way, a receiver can lose the protection of the Barton Doctrine where

the receiver undertakes actions that are beyond the scope of the authority granted to the receiver

by the appointing court. Summit Metals, 477 B.R. at 496; see also DMW Marine, 509 B.R. at 506

(“the classic application of the “ultra vires” exception is the case of an action against a receiver

who seizes or otherwise attempts to administer property that is not receivership property, but that

actually belongs to a third party”).

         41.   The ultra vires exception is similarly not applicable in this case. As discussed

above, Mr. Paul’s actions were directed by the Orders of Judge Dozor and Coyle and conducted

within the parameters of those Orders.

         42.   The Receiver orders put Mr. Paul in charge of all thirteen (13) rental properties

owned by MBMK prior to the Bankruptcy Court approving the sale of the properties. See

Exhibits M (¶24) & N (¶29) of Complaint.

         43.   The orders further required MBMK to turn over the rental properties to Mr. Paul,

tasked Mr. Paul with the management of the rental properties, and authorized Mr. Paul to take all

actions with respect to the rental properties within the parameters of the orders. See Exhibits M

& N of Complaint.

         44.   Judges Dozor and Coyle’s Orders governed, inter alia, what Mr. Paul’s

obligations were vis-à-vis the operation and management of the rental properties. Id.




                                                  11


4871-0224-2699
       45.     The Complaint does not (and cannot) allege that Mr. Paul acted outside the scope

of his authority. Rather, the Complaint asserts claims based on Mr. Paul’s alleged failure to

adhere to the applicable standard of care necessary to manage the properties.

       46.     For the foregoing reasons, all claims alleged against Mr. Paul fall outside the ultra

vires exception to the Barton doctrine encompassed in 28 U.S.C. § 959(a).

       C.      Conclusion

       47.     MBMK failed to seek leave from the state courts that appointed Mr. Paul as

receiver over MBMK’s properties before attempting to sue him in this Court. MBMK’s failure

to obtain leave requires that its claims be dismissed against Mr. Paul.

       WHEREFORE, Defendant, Mr. Paul, respectfully prays that the Court dismiss this

Complaint for lack of subject matter jurisdiction.

                                              Respectfully,

                                              _/s/ Michael Vagnoni_________
                                              Matthew A. Green (I.D. No. 91592)
                                              Michael Vagnoni (I.D. No. 78374)
                                              Lars J. Lederer (I.D. No. 89719)
                                              OBERMAYER REBMANN
                                              MAXWELL & HIPPEL LLP
                                              Centre Square West, 34th Floor
                                              1500 Market Street
                                              Philadelphia, Pennsylvania 19102
                                              (Phone) 215-665-3000
                                              Attorneys for Defendant,
                                              James Paul
Dated: November 13, 2023




                                                12


4871-0224-2699
                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Motion was electronically

filed with the Clerk of Court on November 13, 2023, using CM/ECF. I further certify that a true

and correct copy of the foregoing Motion was served on the following counsel via electronic

submission:


Robert B. Eyre, Esq.                              Daniel W. Meehan, Esq.
Law Offices of Foehl & Eyre                       Gordon & Rees
rob@foehllaw.com                                  wmeehan@grsm.com
Attorneys for                                     Attorneys for
MBMK Property Holdings, LLC                       Wilmington Trust, National Association, as
                                                  trustee for the benefit of the Holders of
                                                  Corevest American Finance 2018-2 Trust
                                                  Mortgage Pass-Through Certificates


Alan Ehrenbert, Esq.
Alan L. Ehrenberg, LLC
1902 Northbrook, IL 60062
aehrenberg@aielegal.com
Attorneys for
ALPS Group, LLC


                                             Respectfully,

                                             /s/ Michael Vagnoni_________
                                             Matthew A. Green (I.D. No. 91592)
                                             Michael Vagnoni (I.D. No. 78374)
                                             Lars J. Lederer (I.D. No. 89719)
                                             OBERMAYER REBMANN
                                             MAXWELL & HIPPEL LLP
                                             Centre Square West, 34th Floor
                                             1500 Market Street
                                             Philadelphia, Pennsylvania 19102
                                             (Phone) 215-665-3000
                                             Attorneys for Defendant,
                                             James Paul
Dated: November 13, 2023




4871-0224-2699
                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

_____________________________________
IN RE:                       .        :
                                      :             CHAPTER 11
MBMK PROPERTY HOLDINGS, LLC, :
                                      :             Bankruptcy No. 2:22-bk-13121 (MDC)
                     Debtor           :
____________________________________:
                                      :
MBMK PROPERTY HOLDINGS, LLC, :                      Adversary Proceeding No. 23-00062 (MDC)
                     Plaintiff,       :
                                      :
               v.                     :
                                      :
WILMINGTON TRUST, NATIONAL            :
ASSOCIATION, As Trustee, For          :
The Benefit of The Holders Of         :
Corevest American Finance             :
2018-2 Trust Mortgage                 :
Pass-Through Certificates;            :
                                      :
BAY MANAGEMENT GROUP OF               :
PHILADELPHIA, LLC;                    :
                                      :
JAMES PAUL, d/b/a James Paul          :
the ALPS Group;                       :
                                      :
               and                    :
                                      :
ALPS GROUP, INC. d/b/a James Paul     :
the ALPS Group,                       :
                                      :
                     Defendants.      :
                                      :
                                      :

                                            ORDER

       THIS COURT having considered Defendant, James Paul’s, Motion to Dismiss

Plaintiff’s / Debtor’s MBMK Property Holdings, LLC Adversary Complaint for Lack of Subject

Matter Jurisdiction and Failure to State a Claim Pursuant to Fed R. Civ. P. 12(b) and 28 U.S.C. §




4871-0224-2699
1332, any opposition and argument related thereto, and for good cause shown, it is hereby

ORDERED that the motion is GRANTED for lack of subject matter jurisdiction, and all claims

in the Complaint against Defendant, James Paul, are hereby dismissed.



                                                   ______________________________
                                                               COLEMAN, J.

DATED: ___________________




4871-0224-2699
